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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE


    In re                                               Chapter 11

    BOY SCOUTS OF AMERICA, et al.,1                     Case No. 20-10343 (LSS)

                          Debtors.                      Jointly Administered


National Union Fire Insurance Co. of
Pittsburgh, PA, et al.,
                    Appellants.

v.                                                      Case No. 22-cv-01237-RGA

Boy Scouts of America and Delaware
BSA, LLC,

                         Appellees.

             MOTION AND ORDER FOR ADMISSION PRO HAC VICE

            Pursuant to Local Rule 83.5 and the attached certifications, counsel moves

the admission pro hac vice of Jessica C. Lauria and Glenn M. Kurtz of WHITE &

CASE LLP, to represent appellees Boy Scouts of America and Delaware BSA, LLC

in the above-captioned matter.




1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal
      tax identification number, are as follows: Boy Scouts of America (6300); and Delaware BSA,
      LLC (4311). The Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas
      75038.
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Dated: October 5, 2022           MORRIS, NICHOLS, ARSHT & TUNNELL
      Wilmington, Delaware       LLP
                                 /s/ Tori L. Remington
                                 Derek C. Abbott (No. 3376)
                                 Andrew R. Remming (No. 5120)
                                 Paige N. Topper (No. 6470)
                                 Tori L. Remington (No. 6901)
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                                 ATTORNEYS FOR THE APPELLEES
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                       ORDER GRANTING MOTION

             IT IS HEREBY ORDERED that counsel’s motion for admission pro

hac vice is granted.


Date: _____________________
                                           United States District Judge
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   CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

             Pursuant to Local Rule 83.5, I certify that I am eligible for admission

to this Court, am admitted, practicing and in good standing as a member of the Bars

of the States of New York and Illinois and, pursuant to Local Rule 83.6, submit to

the disciplinary jurisdiction of this Court for any alleged misconduct which occurs

in the preparation or course of this action. I also certify that I am generally familiar

with this Court’s Local Rules. In accordance with Standing Order for District Court

Fund effective 9/1/2016, I further certify that the annual fee of $25.00 has been paid

   to the Clerk of Court, or, if not paid previously, the fee payment will be submitted

   to the Clerk’s Office upon the filing of this motion.


Date: October 5, 2022                   /s/ Jessica C. Lauria
                                        Jessica C. Lauria
                                        WHITE & CASE LLP
                                        1221 Avenue of the Americas
                                        New York, New York 10020
                                        (212) 819-8200
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   CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

             Pursuant to Local Rule 83.5, I certify that I am eligible for admission

to this Court, am admitted, practicing and in good standing as a member of the Bar

of the State of New York and, pursuant to Local Rule 83.6, submit to the disciplinary

jurisdiction of this Court for any alleged misconduct which occurs in the preparation

or course of this action. I also certify that I am generally familiar with this Court’s

Local Rules. In accordance with Standing Order for District Court Fund effective

9/1/2016, I further certify that the annual fee of $25.00 has been paid   to the Clerk

of Court, or, if not paid previously, the fee payment will be submitted         to the

Clerk’s Office upon the filing of this motion.


Date: October 5, 2022                   /s/ Glenn M. Kurtz
                                        Glenn M. Kurtz
                                        WHITE & CASE LLP
                                        1221 Avenue of the Americas
                                        New York, New York 10020
                                        (212) 819-8200
